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12

13     UNITED STATES OF AMERICA,                             Criminal No. 5:21-CR-00004-BLF

14             Plaintiff,                                    UNITED STATES’ OPPOSITION TO
                                                             DEFENDANT’S MOTION FOR
15                     v.                                    SENTENCE REDUCTION

16     AMANDA CHRISTINE RILEY,

17             Defendant.

18

19          The United States of America (“United States”) hereby respectfully opposes Defendant Amanda

20 Christine Riley’s (“Defendant’s”) Motion for Sentence Reduction Pursuant to 18 U.S.C. §§

21 3582(C)(1)(A) & (2), filed on April 4, 2024 (Doc. 62) (the “Motion”) as follows:

22                                                INTRODUCTION

23          While the Motion seeks to characterize Defendant as a having serious medical issues for which

24 she is not receiving adequate care, the truth is the exact opposite: True to form, Defendant is barraging

25 the Federal Bureau of Prisons (“BOP”) with a torrent of dubious medical complaints; and the BOP is

26 taking those complaints seriously, frequently referring Defendant to a local Level 1 Trauma Center for

27 specialized care, despite the fact that she has no documented, serious medical condition. The Motion’s

28 request that Defendant’s term of incarceration be vacated pursuant to Section 3582 should be denied
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 1 because there are no extraordinary and compelling reasons warranting any reduction in her sentence, and

 2 because the Section 3553(a) factors weigh against release. With respect to the Motion’s request that

 3 Defendant’s sentence be reduced pursuant to Amendment 821 to the U.S. Sentencing Guidelines, to the

 4 extent the Court is inclined to grant any relief at all, the government agrees with U.S. Probation’s

 5 recommendation that Defendant’s sentence be reduced by no more than four months.

 6                                                BACKGROUND

 7          Between 2012 and 2019, Defendant pretended to have Hodgkin’s lymphoma, a type of cancer.

 8 Although she was not sick, Defendant carefully cultivated a social media presence, using Facebook,

 9 Instagram, Twitter, and a blog, all of which she used to “document” her nonexistent medical condition.

10 Defendant went to great lengths to maintain her deception: She shaved her head to make it appear as if

11 she were receiving chemotherapy; she falsified medical records, and forged physicians’ letters and

12 medical certifications; she convinced family-members to echo her false claims; she gave materially false

13 testimony in several legal proceedings; and she attacked anyone who suggested she was malingering

14 (going so far as to sue one of them). Defendant maintained this ruse in order to take advantage of

15 generous, trusting people, which she did for many years. Specifically, Defendant used her social media

16 presence to aggressively solicit donations, ostensibly to cover her medical expenses. In truth, of course,

17 Defendant had no medical expenses. The donations she received were deposited into her personal bank

18 accounts, and used to pay her living expenses. The government identified more than three hundred

19 victims who made contributions with a total value of more than $100,000 towards Defendant’s

20 fabricated medical expenses. As illustrated by the written Victim Impact Statements received in

21 connection with Defendant’s sentencing, and the heart-wrenching statements made by multiple victims

22 during her sentencing hearing, Defendant cruelly exploited the faith and good will of her victims in

23 order to fund her extravagant lifestyle and maintain her position as a semi-celebrity.

24          Defendant pleaded guilty to one count of wire fraud in violation of 18 U.S.C. § 1343, and was

25 sentenced in May 2022. Defendant’s original Total Offense Level was 13 and her Criminal History

26 Category was I, resulting in a guideline imprisonment range of 12 to 18 months. See Revised

27 Presentence Investigation Report (“PSR”), Doc. 44, at ¶¶ 32 – 48 & 82. The PSR and the United States

28 both recommended an 18-month sentence, see PSR at Sentencing Recommendation & Doc. 37, and the
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 1 Court varied upwards to impose a sentence of 60 months in prison, along with a three-year term of

 2 supervised release and $105,513 in restitution. See Doc. 51. Defendant was ordered to report to the

 3 BOP on August 2, 2022, but that date was extended at Defendant’s request to September 3, 2022. See

 4 Doc. 57. Defendant has now served roughly 20 months of her prison sentence, and her current projected

 5 release date is March 9, 2026. See https://www.bop.gov/inmateloc// (accessed May 6, 2024).

 6                                                 ARGUMENT

 7          I.       The Court Should Not Reduce Defendant’s Sentence Under 18 U.S.C. § 3582

 8          Under 18 U.S.C. § 3582(c), courts generally may not modify a term of imprisonment once it has

 9 been imposed, subject to several exceptions. One such exception “provides courts the discretion to grant

10 a prisoner compassionate release when certain conditions are met.” United States v. Keller, 2 F.4th

11 1278, 1281 (9th Cir. 2021)). This compassionate release exception, codified at 18 U.S.C. §

12 3582(c)(1)(A), allows prisoners to seek relief from the court after exhausting administrative rights.

13 Here, the United States does not dispute that Defendant has exhausted her administrative remedies.

14          When addressing the merits of a motion for compassionate release, the court must consider three

15 factors identified in Section 3582(c)(1)(A): First, whether extraordinary and compelling reasons warrant

16 a reduction; second whether a reduction would be consistent with applicable policy statements issued by

17 the Sentencing Commission; and third, whether a reduction is warranted under the factors set forth in 18

18 U.S.C. § 3553(a). See United States v. Wright, 46 F.4th 938, 945 (9th Cir. 2022). “Although a district

19 court must conclude that a defendant satisfies all three predicates before granting a motion for

20 compassionate release, it may deny compassionate release if a defendant fails to satisfy any of these

21 grounds.” Id. Thus, it is the defendant the bears the burden of establishing eligibility for compassionate

22 release. See United States v. Wentworth, 19-cr-00388-CRB, 2024 WL 1470534, at * 2 (N.D. Cal. April

23 3, 2024) (quoting Wright, 46 F.4th at 951).

24          Section 3582 does not define “extraordinary and compelling reasons,” but the Sentencing

25 Commission has provided policy statements describing the term. A recent amendment to the U.S.

26 Sentencing Guidelines provides such a policy statement at U.S.S.G. § 1B1.13. Some courts treat this

27 updated policy statement as binding, while others treat it as advisory. See United States v. Ramirez-

28 Suarez, 16-cr-00124-BLF, 2024 WL 1485859, at * 4 (N.D. Cal. April 5, 2024) (citing cases and
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 1 concluding “[t]his Court agrees with the decisions finding that, as amended effective November 1, 2023,

 2 U.S.S.G. § 1B1.13 is an applicable policy statement for § 3582(c)(1)(A) motions filed by defendants and

 3 therefore is binding on district courts addressing such motions.”). Whether binding or not, Section

 4 1B1.13(b) states that extraordinary and compelling reasons for a reduction in sentence may exist under

 5 several enumerated circumstances, or a combination thereof, including the defendant’s medical

 6 circumstances (U.S.S.G. § 1B1.13(b)(1)), and “Other Reasons” (U.S.S.G. § 1B1.13(b)(5)). Here, the

 7 Motion’s appeal to Section 3582 should be denied in its entirety because the Motion fails to satisfy any

 8 of the predicates for relief.

 9                  A.      The Motion Does Not Identify Any Extraordinary Or Compelling Reasons

10          First, with respect to whether extraordinary and compelling reasons for a reduction in sentence

11 exist, the Motion relies upon Section 1B1.13(b)(1)(C) which provides that extraordinary and compelling

12 reasons exist where “[t]he defendant is suffering from a medical condition that requires long-term or

13 specialized medical care that is not being provided and without which the defendant is at risk of serious

14 deterioration in health or death.” The Motion is necessarily vague about which medical condition or

15 conditions it relies upon. Indeed, Section I.B. of the Motion does not even attempt to argue that

16 Defendant suffers from a specific, chronic illness, although other portions of the Motion refer to

17 Defendant’s hypokalemia (low potassium), tachycardia (a heart rate over 100 beats per minute), and

18 other poorly defined, and even more poorly documented, cardiac, pulmonary, and mental health issues.

19 These medical conditions – even if they existed – would be neither extraordinary nor compelling. See,

20 e.g., United States v. Brugnara, 14-cr-00306-WHA, 2024 WL 332867, at * 3-4 (N.D. Cal. Jan. 28, 2024)

21 (denying relief under Section 1B1.13(b)(1)(C) to prisoner with medical conditions including

22 hypertension, chest pains, and stenosis); United States v. Tashbook, 01-cr-20160-CRB, 2023 WL

23 4769934, at * 4-5 (N.D. Ca. July 25, 2023) (denying relief under Section 1B1.13(b)(1)(C) to prisoner

24 with medical conditions including testicular cancer, hypertension, and mental health issues); United

25 States v. Juarez, 17-cr-00554-PJH, 2022 WL 4544698, at * 2-3 (N.D. Cal. Sept. 28, 2022) (denying

26 relief under Section 1B1.13(b)(1)(C) to prisoner who experienced a gastrointestinal blockage which

27 required that he be transported by helicopter for emergency surgery, and subsequent gastrointestinal

28 issues); see also United States v. Gomez-Moreira, 20-cr-00151-JLT, 2024 WL 245640, at * 3 (E.D. Cal.
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 1 Jan. 23, 2024) (citing cases supporting the proposition that chronic conditions which are treatable by the

 2 BOP do not establish extraordinary and compelling reasons that merit compassionate release).

 3          Perhaps not surprisingly, however, Defendant’s medical records make clear that she does not

 4 actually suffer from any acute health problems at all. In fact, Defendant’s medical records are replete

 5 with explicit findings, for example, that:

 6         Defendant intentionally stressed her body to create tachycardia (a heart rate over 100 beats per
 7          minute), see Exhibit 2, Emergency Services Attending Note dated April 17, 2023, filed herewith

 8          under seal with highlighting added for the Court’s convenience, at page 2 [US-2024-003070];

 9         Defendant was observed holding her breath during an oxygen saturation test to effect the test
10          results, see Exhibit 3, Clinical Encounter - Administrative Note dated April 17, 2023, filed

11          herewith under seal with highlighting added for the Court’s convenience, at page 1 [US-2024-

12          002051];

13         Defendant attempted to manipulate an infusion pump administering potassium to her, see Exhibit
14          4, Emergency Services Attending Note dated April 22, 2023, filed herewith under seal with

15          highlighting added for the Court’s convenience, at page 1 [US-2024-002994];

16         Defendant exhibited symptoms of Munchausen syndrome, see Exhibit 5, Emergency Department
17          Provider Notes dated June 27, 2023, filed herewith under seal with highlighting added for the

18          Court’s convenience, at page 11 [US-2024-0001179]; and

19         Defendant repeatedly requested or demanded pain medication, including explicit requests for
20          powerful narcotics, when complaining of chest pains, see Exhibit 6, Progress Note dated April

21          17, 2023, filed herewith under seal with highlighting added for the Court’s convenience, at page

22          1 [US-2024-003090]; Exhibit 7, History and Physical Examination dated June 2, 2023, filed

23          herewith under seal with highlighting added for the Court’s convenience, at page 1 [US-2024-

24          002908]; Exhibit 8, Significant Event Note dated June 27, 2023, filed herewith under seal with

25          highlighting added for the Court’s convenience, at page 1 [US-2024-0001199]; and Exhibit 9,

26          History and Physical Examination dated June 27, 2023, filed herewith under seal with

27          highlighting added for the Court’s convenience, at page 1 [US-2024-002849].

28
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 1 Her caregivers are so skeptical of Defendant’s self-reported and questionable claims about her own

 2 physical condition that at least three different physicians and one registered nurse included notes in their

 3 reports of encounters with Defendant flagging a concern for “factitious disorder.” See Exhibit 10,

 4 History and Physical Examination dated April 17, 2023, filed herewith under seal with highlighting

 5 added for the Court’s convenience, at page 2 [US-2024-003073]; Exhibit 11, Clinical Encounter -

 6 Administrative Note dated April 18, 2023, filed herewith under seal with highlighting added for the

 7 Court’s convenience, at page 2 [US-2024-002047]; Exhibit 12, Discharge Summary dated April 18,

 8 2023, filed herewith under seal with highlighting added for the Court’s convenience, at page 2 [US-

 9 2024-3053]; and Exhibit 13, History and Physical Examination dated October 31, 2023, filed herewith

10 under seal with highlighting added for the Court’s convenience, at page 1 [US-2024-000921]. A fourth

11 doctor went so far as to list “factitious disorder/malingering” among Defendant’s diagnoses. See Exhibit

12 14, Emergency Department Provider Notes dated April 17, 2023, filed herewith under seal with

13 highlighting added for the Court’s convenience, at page 4 [US-2024-003062]; and Exhibit 15,

14 Emergency Department Provider Notes dated April 22, 2023, filed herewith under seal with highlighting

15 added for the Court’s convenience, at page 4 [US-2024-0001318]. These facts, when considered in light

16 of the conduct underlying Defendant’s conviction in this case, support the conclusion that Defendant is

17 manufacturing or exaggerating her symptoms in order to secure special treatment and access to drugs.

18          With respect to any genuine health issues Defendant is experiencing, the Motion itself concedes

19 that the BOP regularly transports Defendant to a hospital (John Peter Smith Hospital, a Level 1 Trauma

20 Center located in Fort Worth, Texas, 11 miles from the prison) to receive medical treatment, the quality

21 of which the Motion does not dispute. In fact, during the course of her incarceration, Defendant has

22 seen multiple specialists for multiple complaints including cardiology, cardiothoracic surgery,

23 gastroenterology, general surgery, hematology oncology, interventional radiology, neurology,

24 neurosurgery, orthopedic surgery, pain medicine, pulmonology, and sleep medicine – none of which has

25 identified any serious problems – and Defendant has also had multiple negative computerized

26 tomography angiograms at the hospital. See Exhibit 10 at page 2 [US-2024-003073]; see also Exhibit

27 14 at page 5 [US-2024-003063]; Exhibit 15 at page 4 [US-2024-001318]. Any argument that Defendant

28 is not receiving specialized medical care while in custody would be specious.
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 1          Finally, the Motion makes no serious argument that Defendant is at any risk of serious

 2 deterioration in health or death. Quite the contrary, in an effort to secure a more desirable housing

 3 within the prison, Defendant herself confirmed in October 2023 that that she was self-sufficient and was

 4 not in need of infusions or surgery. See Exhibit 16, Documentation of Informal Resolution Attempt

 5 dated October 26, 2023, filed herewith under seal, at page 1 [US-2024-001615].

 6          Thus, it simply is not true that Defendant has any genuine medical condition that requires long-

 7 term or specialized medical care that is not being provided resulting in a risk of serious deterioration in

 8 health or death. None of the criteria included in Section 1B1.13(b)(1)(C) are satisfied here, and the

 9 Motion does not set forth facts which would support relief under Section 1B1.13(b)(5) either.

10                  B.      A Reduction Would Not Be Consistent With Applicable Policy Statements

11          The most pertinent policy statement is U.S.S.G. § 1B1.13 which, as discussed above, clearly

12 weighs against reducing Defendant’s sentence because she has not established any basis for relief.

13                  C.      The Section 3553(a) Factors Weigh Against A Reduction

14          Even if there were extraordinary and compelling circumstances justifying a reduction in

15 Defendant’s sentence, the Court should still deny the Motion based on the Section 3553(a) factors. The

16 Court addressed the Section 3553(a) factors thoroughly during Defendant’s sentencing, considering

17 particularly the nature, circumstances, and seriousness of the offense, the need for deterrence, the goal of

18 protecting the public, and Defendant’s history and characteristics – especially her health: Defendant

19 sought to present herself as medically compromised during her sentencing, and her medical conditions

20 were discussed at great length in her PSR (which nevertheless recommended a prison sentence at the

21 high end of Defendant’s guidelines), see PSR at ¶¶ 62 – 67, and the Court explicitly took those concerns

22 into account when imposing Defendant’s initial sentence. See Exhibit 1, Transcript of Defendant’s May

23 3, 2022, Sentencing, at 35:3 – 35:5.

24          The Motion argues that it is unfair that the BOP will not transfer Defendant from the Federal

25 Medical Facility (“FMC”) at Carswell to the facility’s prison camp. This argument is circular: The

26 Motion argues in one Section that Defendant is not receiving adequate medical care at FMC Carswell,

27 see Motion at 7-9, while arguing in the following Section that she must be transferred to a prison camp

28 with fewer medical resources. See Motion at 11. It is also worth noting that the defense specifically
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 1 requested that the Court recommend that the BOP house Defendant at FMC Carswell during sentencing.

 2 See Exhibit 1 at 28:12 – 28:22. In any event, given that the Motion offers no evidence whatsoever to

 3 support its argument that conditions at FMC Carswell are restrictive or harsh, the BOP’s placement

 4 decision should have no bearing on the Section 3553(a) analysis.

 5           If anything, the Section 3553(a) factors weigh more heavily towards incarceration now than they

 6 did at Defendant’s sentencing. Defendant’s conduct in custody makes clear that she is determined to

 7 continue malingering. She also has made no real effort to pay her restitution to her victims. See U.S.

 8 Probation’s Sentence Reduction Investigation Report (“SRIP”), Doc. 66, at Post Sentencing Conduct.

 9 Defendant does not appear to have learned anything from her conviction, she has not been deterred at all

10 by her sentence, and she continues to pose a danger to the community. See SRIP at Recommendation.

11 Releasing Defendant now would not promote respect for the law, provide just punishment for the

12 offense, deter criminal conduct, or protect the public. Quite the opposite. Thus, the Motion’s appeal to

13 Section 3582 should be denied in its entirety because the Motion fails to satisfy any of the predicates for

14 relief.

15           II.    The Court May Reduce Defendant’s Sentence Under Amendment 821

16           In the alternative, the Motion argues that the Court should reduce Defendant’s sentence to 47

17 months (a 13-month reduction) pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 821 to the U.S.

18 Sentencing Guidelines. Section 3582(c)(2) creates a second exception to the general rule that courts

19 may not modify a term of imprisonment. Specifically, where a defendant has been “sentenced to a term

20 of imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

21 Commission, . . . . the court may reduce the term of imprisonment after considering the [applicable]

22 factors set forth in section 3553(a) . . . if such a reduction is consistent with the applicable policy

23 statements issued by the Sentencing Commission.” See 18 U.S.C. § 3582(c)(2). Courts have adopted a

24 two-step approach for determining whether a reduction is appropriate under Section 3582(c)(2): First,

25 the court must determine the defendant’s eligibility for a sentence modification, and the extent of the

26 reduction authorized under U.S.S.G. § 1B1.10; and second, the court must consider the appliable Section

27 3553(a) factors. See Dillon v. United States, 560 U.S. 817, 827 (2010); see also United States v.

28 Espinoza-Patino, 12-cr-00833-BLF, 2024 WL 1772862, at * 1-2 (N.D. Cal. April 22, 2024).
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 1          The Motion relies upon Amendment 821 to the U.S. Sentencing Guidelines, under which the

 2 Sentencing Commission added a section providing for a 2-offense-level reduction for offenders who

 3 satisfy the criteria set forth in Sections 4C1.1(a)(1) through (a)(10), including presenting zero criminal

 4 history points. This change applies retroactively. See U.S.S.G. § 1B1.10(e)(2). The United States

 5 agrees with U.S. Probation’s conclusions that Defendant is eligible for a retroactive reduction in her

 6 sentence because all the criteria set forth at Sections 4C1.1(a)(1) through (a)(10) are satisfied. See SRIP

 7 at Recommendation. Upon application of this provision to Defendant, her Total Offense Level is

 8 reduced to 11, resulting in a guideline imprisonment range of 8 to 14 months. See id. at Page 2.

 9          While Defendant is eligible for a reduction, the Court retains great discretion in deciding whether

10 to actually grant relief, and courts regularly decline to grant sentence reductions to eligible defendants.

11 See, e.g., United States v. Dunn, 728 F.3d 1151, 1159-60 (9th Cir. 2013) (“[T]he district court presented

12 a balanced account of both positive and negative [Section 3553(a)] factors, and provided sufficient

13 explanation for why it denied Dunn a reduced sentence.”); United States v. Wilson, 716 F.3d 50, 53 (2d

14 Cir. 2013) (denial of sentence reduction was not an abuse of discretion, though earlier sentence

15 reduction had been granted despite defendant’s prison misconduct, and defendant had not engaged in

16 any new prison misconduct); United States v. Styer, 573 F.3d 151, 154-55 (3d Cir. 2009) (denial based

17 on nature of original criminal conduct); United States v. Stevenson, 332 F. App’x 261 (6th Cir. 2009)

18 (unpublished) (reduction denied despite eligibility under amendment, based on disciplinary infractions

19 in prison, and lengthy criminal record); United States v. Arceneaux, 297 F. App’x 819 (10th Cir. 2008)

20 (unpublished) (reduction denied due to disciplinary record in prison); United States v. Marion, 293 F.

21 App’x 731 (11th Cir. 2008) (unpublished) (district court denied reduction motion based on same factor it

22 considered at sentencing).

23          Here, relief is not appropriate. As discussed above, the Section 3553(a) factors militate against a

24 reduction in Defendant’s sentence. Nor should the fact that Defendant had no criminal history obscure

25 the fact that the criminal conduct underlying her conviction lasted several years. Defendant’s crime was

26 not an isolated or anomalous event, but rather a long term, multi-faceted scheme with hundreds of

27 victims. In addition, it could be argued that Defendant already benefited from the fact that she had no

28 criminal history since she was sentenced in Criminal History Category I. That having been said, to the
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 1 extent the Court determines that the addition of Section 4A1.1(c) to the U.S. Sentencing Guidelines

 2 suggests an additional credit is warranted, the result recommended by U.S. Probation balances the

 3 relevant considerations appropriately: If Defendant is to receive relief, a four-month reduction would

 4 reflect 100% of the credit applicable to Defendant’s guidelines through a retroactive application of

 5 Section 4A1.1(c) while maintaining a variance commensurate with the initial sentence, which remains

 6 completely appropriate. See SRIP at Recommendation (factors motivating the upwards variance in

 7 Defendant’s sentence “are still present in this case . . . [and] the upward variance is still appropriate.”).

 8                                                  CONCLUSION

 9          “I do find the public to be at significant risk from you. I do believe that this will happen again.

10 [B]eing confronted with your lies seemed to be no deterrent whatsoever, and therefore I find the public

11 to continue to be at risk from your continued fraud.” See Exhibit 1 at 34:14 – 34:18. The Court’s

12 observations during Defendant’s sentencing were prescient, but perhaps not sufficiently cynical: Having

13 served just 20 months of the 60-month sentence imposed after she pretended to have cancer in order to

14 garner sympathy and to steal money from her victims, Defendant already has a well-documented history

15 of pretending to be ill while in custody, going so far as to interfere with medical tests and intentionally

16 increase her heart rate in an effort to substantiate her unverified and amorphous health complains. The

17 Motion’s perverse effort to leverage this behavior to secure Defendant’s premature release is truly

18 audacious given the conduct underlying her conviction. If anything, Defendant’s behavior while in

19 custody reveals that, as the Court predicted at her sentencing, Defendant has learned nothing from her

20 conviction, and continues to pose a danger to those around her. Accordingly, the United States

21 respectfully opposes the Motion.

22

23 Respectfully submitted: May 6, 2024                             ISMAIL J. RAMSEY
                                                                   United States Attorney
24
                                                                   s/ Michael G. Pitman
25                                                                 MICHAEL G. PITMAN
                                                                   Assistant United States Attorney
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28
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